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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


DEBORAH D, PETERSON,
Personal Representative
Of The Estate Of
James C. Knipple (Deceased), et al.
                   Plaintiffs




                                                           Civil Action#l:OlCV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN,et al.
               Defendants



                         REPORT OF SPECIAL MASTER
                      PURSUANT TO ORDER OF REFERENCE
                 CONCERNING COUNTS CDXXV THROUGH CDXXVm

                                      ERIC D. STURGHILL
                                          CPL USMC


       In accordance with the Order of Reference entered pursuant to the provisions of Federal

Rule 53, the Special Master has received evidence with regard to all issues of compensatory

damages from witnesses as below set forth. This is an action for wrongful death resulting fiom an

act of state-sponsored terrorism. The following findings of fact are based upon the sworn testimony

and documents entered into evidence in accordance with the Federal Rules of Evidence and have

been established by clear and convincing evidence.
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                                      FINDINGS OF FACT

               (1) Eric D. Stwghill was born on November 28, 1960 in            the United States of
America and was at birth and remained until hls death, a citizen of the United States. Mr. Sturghill

joined the United States Marine Corps and on October 23, 1983 was a member of the 24&MAU,

First Battalion, 8&Regiment.
       (2) On October 23, 1983, the building housing the Marine Battalion at Beirut was attacked

by a suicide bomber operating a truck which penetrated to the center of the building where the

operator detonated a large explosive charge completely collapsing the building resulting in the

deaths of 24 1 American Service personnel, including this decedent.

       (3) As a result of the explosion, decedent, Eric D. Sturglllll, suffered severe injuries, which

resulted in his death.

       (4) The official service death certificate, admitted as an official record, indicated that the

death ofthe decedent was due to a terrorist attack at Beirut, Lebanon on October 23,1983.

       (5) The records available and the testimony of witnesses indicate that prior to death, there is

no evidence fkom which the Special Master can make any finding that the decedent suffered bodily

pain or suffering as a result of his injuries and death appears to have been instantaneous.
       (6) As a result of the death of Eric Sturghill, his estate suffered a loss of accretions to the

estate which could have been expected to occur during the course of hls anticipated life. These

losses are the subject of a report under oath from Dr. Jerome Paige and are supported by Dr.

Paige's testimony given by videotape. They have been reduced by Dr. Paige to present value in

accordance with District of Columbia v. Barriteau, 399 A.2d 563 0 . C . App. 1979). Based upon the

foregoing, the amount of loss to the estate is in the amount of $725,378.00.



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       (7) As the result of the death of Eric D. Sturghill, his father and his surviving siblings have

suffered and will continue to suffer severe mental anguish and the loss of society. The testimony

established that his father and siblings have never recovered fiom the shock and suffered severe

emotional trauma fiom Eric Sturghill's death in Beirut. They are participants in various memorial

programs for the victims of October 23, 1983 and are vigorous supporters of those programs.

       CPL. ERIC D, STURGHILL was born November 28, 1960 in Chicago, Illinois. Cpl.

Sturghill's father, brother, and sister all described Eric as a kind, loving and thoughtful person.

Cpl. Sturghill's family was filled with trauma prior to October 23, 1983. Eric Sturghill's mother

died as a result of the birth of Eric's stepsister in April 1972. Eric was adopted by his stepfather

and was raised in a household where his stepfather raised 3 small children. Cpl. Sturghill

completed High School and went on to Junior College and he left college to enlist in the United

States Marine Corps, at age 19, on June 26, 1980. Cpl. Sturghill had a very close relationship with

his younger brother, Marcus D. Sturghill who was approximately 15 at the time of his brother's

death. It wasn't until after Cpl. Sturghill's death that h s father learned that Eric also had a close

relationship with his sister, who was 1 1 at the time of her brother's death. At age 22, CPL.

Sturghill had made his youngest sister the beneficiary on his insurance policy.

       Cpl. Sturghill told his father that he didn't have to go to Beirut and his father asked him to

stay stateside but, his father testified, "hs son wanted to see what was going on." Cpl. Sturghill

was due to be discharged fiom the Marines in less than a year and his father believes his son would

have returned to school.

       The TV tapes fiom Cpl. Sturghill's Marine buddy indicate that he was on guard duty on

october 23, 1983 and he walked into the Headquarten Building at the same time as the explosive




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truck was being driven into the building from the other direction. It is probable that Cpl. Sturghill
saw the truck and driver and was in close proximity to the blast.

       MARCUS L. STURGHILL, JR is the father of CPL. Eric D. Sturghill. Marcus Sturghill,

Jr. was married to Eric Sturghi117smother, Barbara, on March 7, 1967 and had two children fiom

the marriage. Eric was one year old when Marcus met his mother in 1965. When Barbara died on

April 22,1972 as a result of a complication fiom childbirth, Marcus adopted Eric

       Eric Sturghill graduated fiom Fenger High School, on the south side of Chicago. Eric said

he always wanted to go to school, and he went to Loop Junior College in Chcago, Illinois for close

to a year. At that time Eric joined the Marines to travel, he wanted to see more of the world.

       Eric Sturghill's job in the Marines was driver or chauffer of a truck. After that he said he

was on g w d duty. Eric's letters told his family that and that he was reading the bible daily and

that he was coming home soon. In his letters Eric did not discuss the combat or tactical situation in

Beirut. All his letters were short and so were Marcus' responses. Eric had less than a year to be

out of the Marines and coming home.

       Marcus and Eric were close and Marcus taught Eric how to ride bikes and how to drive.

They would ride bikes together and then motor scooters. Marcus remembers that police brought

Eric home because he was riding on Michigan Avenue, in Chicago. The police locked Eric up.

Marcus and Eric went to drive in movies and lots of other father son activities. Eric was interested

in going back to school but Marcus did not say exactly what he wanted to do after school.

       Marcus provided video of Eric and news reports from Beirut with Paul Hogan from Channel

Five in Chicago, Illinois.

       Eric and his brother Marcus were real close. Eric's brother Marcus cried when they learned

that Eric was killed. Brother Marcus is still affected by the love of his brother.



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        Eric's death was a hard ttung for everyone in the family. From day one Eric was just like

Marcus' own son, they were close and Eric did not know any other father but him. Eric's sister,

NeKeisha was young and did not know much. She remembered him but the boys and Marcus were

real close.

        Marcus had a daughter fiom a previous relationship and NeKeisha and she were very close,

NeKeisha and her were like sisters. Eric made NeKeisha as his beneficiary when he was in the

military.

        October 1983, Marcus first learned of the incident in Beirut on television. They were first

told he was okay, but he does not remember who told them. On television when they saw people

coming out of the building they thought they saw Eric and that kept hope alive for them. Then two

Marine officers came to door about two weeks after the bombing. Marcus cannot remember

exactly when the m n e s came to tell them that Eric was killed It was quite a shock because it

had been long enough after the bombing that Marcus thought Eric had survived.

        The death of Eric affected the whole family and also people on Marcus' job. In 1983

Marcus was living with his fiancCe and he felt like they were the "Brady Bunch" - eveqdung was

good.

        Marcus would want to tell the leaders of the Islamic Republic of Iran that it was a bad thing

that happened and he wants to know why. Marcus would ask, "why is it still going on today?"

Marcus believes that all the families should be compensated more for their loss than just the

insurance money.

        For Marcus, Eric's funeral was sadder than his mother's funeral because he had just begun

his life and he had so much ahead of him, he left too early.




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       The people at his Chicago Transit Authority job were very supportive. They were like a

family. He had a perfect work record before Eric's death and after he just wanted to quit and then

one of his supervisors would come by and talk with him and he would continue. Life has never

been the same for Marcus since Eric was killed. Neither he or the rest of his family will ever

recover from the loss.

       MARCUS D. STURGEIILL is the brother of Eric Sturghill. Marcus seems to be the most

affected by the death of his brother Eric. Marcus was born in Chicago, Cook County, Illinois. His

parents are Marcus Sturghll and Barbara Sturghill.

       Marcus married Michelle Robinson Sturghill. He attended Percy Junior High School in

Chicago and then trade school for heating and refrigeration. Marcus is currently employed as a

crane operator.

       There was seven years age difference between Eric and Marcus. It was his brother, he

taught him how to play ball and skate, took him to ballgames, and kept him out of trouble. He used

to let Eric ride his little dirt bike. It's the little things that Marcus misses: walking the four blocks

to the skate rink, walking to their aunt's house, and jogging together. Marcus was the little brother

that nagged to be around and eventually Eric got comfortable with him around. Eric was on the

wrestling team and he played bass clarinet in band. Eric got a little job working at the Jewel

grocery store in the neighborhood because their father said if you want to drive a car you have to

put gas in it. Eric being adopted was not an issue and Marcus did not know he was adopted until he

was dead and Marcus was 18 or 19 years old. Eric would beat him up and he did not know why.

Marcus is still good fiends with Eric's fiiend Don Hampton. Marcus was so young at the time and

remembers Don Hampton working at the grocery store with Eric.           Don Hampton is a barber and




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cuts Marcus' hair to this day. Eric was a well-liked person. Eric wore high heels, stacked shoes,

big hair in an "Afio" style.

       When Eric made the decision to go into the Marines, he was worlung and going to Loop

College in downtown Chicago, he thought the Marines would help him financially with his

education. Marcus tried to keep him fiom going into the Marines. They talked while they worked
out; Eric loved to work out and jogged all the time. Marcus felt he was not on the same level

talking to Eric but Eric said he wanted to finish school and see the world, he liked to travel.

       Marcus was in eighth grade when Eric went to Marines. Marcus would make cassette tapes

and send them to Eric and Eric would write back. Eric tried to make Marcus write him letters to

improve his writing ability. Marcus acknowledges that he has a language problem and his brother,
Eric, would tutor him when he was home. Marcus received speakers as a gift fkom Eric after he

told Eric that his speakers "sucked."

       Eric had already gone to Japan and the family thought he did not have to go to Beirut.

Another fiiend of the family who was in the Marines told the family that Eric said his unit was

going to Beirut and he said he wanted to see what going on. When Eric came home the first time

and they were riding together they saw another guy in the Marines with uniform all cocked over

and Eric stopped and the guy straightened up and fixed his uniform. Eric was serious about the

Marine Corps.

       Marcus thought Eric was some kind of        MP or something like that. He was supervising
other Marines at the time. Eric did not talk about Beirut when he was on leave. He was visiting

and they were just happy to see him. When a guy said Eric's unit going out Eric got his stuff and

got ready to leave. Marcus did not want him to go but Eric's unit was going and he probably did

not have a choice.



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       A newscaster came and interviewed the family and Eric and just a couple weeks later the

bombing occurred. The last time he saw Eric was on the media videotapes. Eric wrote the letters

to the family and the parents would read them out loud to the kids.

       October 23, 1983, the day of bombing Marcus found out about bombing when the Marines

came to the door and said he was missing but the Marines did not say what happened. Marcus was

young and did not watch the news. He knew it was on the news and they were discussing it in the

household. They were discussing what had happened and where Eric was at the time. Then the

family started to pay attention and tried to see him. They listened to the TV constantly, all the

Marines they saw looked the same color at that time either covered with ash or covered with blood.

Marcus was praying that Eric made it; he did not picture him passing. He thought he would be

there regardless. He never wanted to give up hope.

       Marcus missed a lot of school after the bombing and believes it had to be over a week

before they learned Eric died. Marcus does not remember who told him. He remembers the

Marines coming to the house and does not remember if they said he was missing or that he had

passed Marcus felt like he lost his idol, his best fiend, the guy he looked up to, the only guy he

knew that looked up to him. "It hurt, it hurt, it hurt" Marcus said as he was crying.

       When Eric's body was brought home Marcus cannot remember what going on in household

at the time. They would not let him go see the body. The way they described the condition of

Eric's body his parents did not want anybody to see him like that. It was a closed casket funeral.

The funeral was at a church in Chicago on 95& Street, St James Church.

       Marcus believes that Eric's funeral was ten or eleven days after the bombing. All the

family members were at the funeral and one Marine was there that was in the bombing with Eric.




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       Their father was not really a talkative person, he is not real emotional. The family is mad

that Eric is gone and we have to move on. Their father would go into a room and close the door;

Marcus knew he was crying over Eric's death. Marcus was not doing great in school after Eric was
killed; he was not handling the situation very well. One teacher was real helpful at he time and

with her help Marcus was able to graduate. Marcus felt like something taken away from him. It

just did not feel the same.

       NeKeisha, Eric's sister, was younger and may not have realized what was going on at the

time. Even today we have not really discussed it.

       Marcus got married two summers ago. Marcus has explained to wife that he had a brother

and explained it is he in some of the pictures in the house. He that it was his brother that taught

him how to be a man; he was a father figure to him in a way. Marcus told his wife that he and his

brother were real tight, they were real close. "Its just a bunch of little things that Eric used to do.

Some things I can explain and some things I cannot. He used to help me in a way."

       Marcus thought he was doing pretty well until the day of his interview for this case. He

misses him and wishes he were here today. Growing up Marcus was crazy about sports and Eric

said do not do drugs, do not smoke and he still follows that advise today. It is "like Eric is going to

come back and do something about it if he did." Marcus still tries to live by those rules. Eric was

wise for his years.

        At the time Marcus really wanted someone to pay for what they did to his brother. In a snap

he was just gone, no reason, he was just over there doing his job. "I do not know the guys who did

it. Just that he is gone."

       1f the leaden of Iran were here listening Marcus would tell them something he could not put

on tape - he honestly does not know what to say. Marcus is mad that brother is gone. He does not




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know if it was worth it to them but it was not worth it to him. He does not know whom to blame

but he knows that his brother did not have a chance to defend himself. They had guns but no ammo

in them. He cannot even remember what it was they were protecting in Beirut. He remembers

seeing Marines in a bunker just protecting themselves. He doesn't have a clue why they were

there. His brother is buried in Alsip, Illinois, at the Lincoln Cemetery next to their mother. The

family went to a memorial in Camp LeJune; it was a tree planting ceremony. He has not been able

to afford to go to any other memorial.

       With the recent terrorist acts it brings back up the memory of the loss of a loved one. He

thinks about what the other families are going through.

       Marcus misses his brother and said they are a close family and around each other all the

time. But it is hard without his brother there. Things that he misses that will he never be able to do

with his brother. Like to be able to go and have drink with his brother now that he is of age.

Marcus goes to the cemetery because Eric is right next to his Mom. He goes if it is nice out,

holidays if not out of town, on Eric's birthday, but not Christmas or new Years. He goes to the

cemetery regularly in summertime.

       Marcus feels that if Eric had lived he would have continued with school. Eric tutored

Marcus and he would have motivated him to do more with his life.

       NEKEISHA LYNN STURGHILL is the sister of the decedent and was born on April 13,

1973. She is a full time nursing student at Chicago State University, Chicago, Illinois. NeKeisha's

mother was Barbara Johnson and her father is Marcus Sturglull.

       NeKeisha's first thoughts about her brother Eric was that he took her to the only basketball

game she ever went to and she got to see Dr. Jay with her father's girlfkiend's daughter Bobbie.

She remembers some thmgs about brother. He would practice the clarinet in the basement and kept




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the reed in his mouth and when she asked hm why he explained it to her. She had chicken pox and

when no one wanted to be with her Eric played with her. He sent her a camera, it took 112 film,

and she still has it. Eric would take her to see her mother's side of the family because her father did
not take them. They missed her and when Eric came home he would take her. Without that she

would not have gotten to know that side of fhmily. She wishes she had seen them and knew them

more. NeKeisha became pregnant with her daughter in 1999 and wanted her daughter to know her

mother's side and so she made it a point to see them more often. Her daughter just had a birthday

and they were all over for that celebration. She has made sure that her daughter knows her

mother's side of the family more than she did.

       Eric talked to her but she was young and her understanding of the issues was limited. Eric

and her brother had a close relationship. Brother Marcus would try to talk to her but Eric talking to

her was just pure joy.

       When Eric joined the Marine Corps he would come home on leave but she does not

remember seeing him in his uniform. She does not remember much and that made her cry. Eric

wrote letters to their parents and he sent each of them a camera. NeKeisha wrote bun a letter

because she got Barbie Doll stationary and did not have anyone else to write to and so wrote her

brother.

        She remembers seeing the news video of her brother. She remembers the sandbags all

around and he was in sand color clothing.

       October 23, 1983 NeKeisha and her sister were sleeping in fiont room and there was a

knock at door and two Marines were at the door to tell the family what was going on. She did not

pay attention to what was said. In the days that followed, the media followed them to church and

followed them to school and fiiends said they were celebrities and it was fun at first until her dad




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cried. She had never seen her dad cry before and she knew it was serious. He said he did not care

if Eric came home with one leg or one arm, just that he came home. She remembers them thinking

they saw Eric on TV in a stretcher.
       NeKeisha was aware that Eric had died in the attack on the barracks. She remembers the

family talked about Eric having an open or closed casket and dad going to identi@ the body and his

not wanting to go alone. She remembers talk about funeral. Her father's fianck, Cindy, died just

before Eric was killed. There was talk about the preparations. Cindy had just died, then her

brother died, and she barely knew him because he was in the service all the time. It brought a lot of

hurt back. At the funeral the Marines played the horns and it was a reality check. Everyone was

hugging and crying.

       If NeKeisha died she wonders what her daughter would remember about her. Anyone could

die at any time. Her brother said he could not have a relationship because he did not think he could

open up. She does not know how he is still living and able to be in another relationship after all the

deaths. Eric and his father were close but Eric was closest with Marcus. Marcus was affected the
most because he lost his mother and then lost Eric. She was just a kid and this is what she saw, she

saw her brothers together.

       The community was supportive because the family had been in the neighborhood for many

years. The teacher at the school, Zion Lutheran, where she and her sister went, showed a lot of

compassion.. They understood more than she and her sister did.

       The loss of Eric is difficult to talk about. She often looks at a picture that she has with her

brothers when they were young.         When she thinks about her daughter it makes her sad.
~eKeisha'sdaughter Lovie Breeze Sturghlll is five years old now. She is making preparations for

what to do for her daughter if she died. No one at her age should be thinking or talking about




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dying. She talks to her baby all the time that someone could che at any time. NeKeisha has never

received any grief counseling or participated in support groups.

        NeKeisha believes that nothing is going to change as a result of this litigation, you cannot

go back. You cannot change what has happened and that is what she would want to do. She is here

to support her father and brother. Nothing will change from the litigation, the hurt is still there.

She did not attend the liability phase of the trial.

        NeKeisha would tell the leaders of Iran monitoring this case that they hurt her family even

more than she can describe. Eric was only 20 years old, he did not get to do anytlung, he did not

get to have any kids, get married, or live his life. She would be angry and lash out if she saw the

Iranians.

        NeKeisha said she would like clarification, she heard that Reagan had the boys over in

Beirut. If it was Reagan's fault, could he have brought the boys home? She wanted to h o w if it

was true that there was a message decoded warning of the intent of the Iranians to bomb the

marines and the French paratroopers. She asked whether it was true that the Marines had no ammo.



                                      CONCLUSIONS OF LAW

        (1) Wrongfid Death.

        The Plaintiffs produced comprehensive testimony fiom Dr. Jerome Paige detailing the loss

of accretions to the estate of each person. These calculations are conservative and the amounts set

forth in the report have been established without question. The Special Master concludes as a

matter of law that judgment should be entered for this element of damages for the Estate of Eric D.

Sturghill in the amount of $725,378.00.
        (2) Survival Action - Pain And SuBering.



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        There is no evidence fiom which it could be concluded that the decedent endured bodily

pain and suffering after the attack and prior to his death.

       (3) Solatium.

       The Foreign Sovereign Immunities Act provides for an award for solatiurn consisting of

emotional injury d i c t e d upon persons other than the decedent by the actions of the defendants

and/or their agents. As the Court noted in the Flatow case, id., this is an item of damages which

belongs to the individual heir personally for injury to the feelings and loss of decedent's comfort

and society. The unexpected quality of a death may be taken into consideration in gauging the

emotional impact to those left behind. In this case the impact upon the parents and siblings was

devastating. The Special Master concludes as a matter of law that the following amounts are

appropriate compensation for this element of damages: Marcus L. Sturghill, Jr. (Father) -

$10,000,000.00; Marcus D. Sturghill (brother) - $5,000,000.00; and NeKeisha Lynn Sturghill

(sister) - $5,000,000.00




   Date: May 31,2006


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